                Case 2:22-mc-01235-CB Document 1 Filed 12/12/22 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF PENNSYLVANIA                                 OEC 1111Ja
                                                                                            • Ill us OISWJCT COURT
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                                                                                          FORTnc~i;;           ,,.
Secretary of Labor                                                                              OF PENNS't'LVANII'
Plaintiff                                                    Misc. No. 2:22-mc-1235
                                                             Case
                      V.                                             75-112
                                                             No.

G.A.L. Construction
Defendant



                       APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS



NAME, ADDRESS, AND PHONE NUMBER OF CLAIMANT:




                            l'1!J tJ A{) C,, J/ Ir 11-e, PfJ ' /~/l/b
                           t-,J?--q/q-t~cr;g
The amount of$ 2075.8800 which is currently unclaimed and held by the Clerk of Court.


BRIEF HISTORY OF CLAIM:




Claimant certifies under penalty of perjury that all statements made by Claimant on this Application and any
attachments required for this Application are, to the best of Claimant's knowledge, true and correct.




                                                                                CLAIMANT'S SIGNATURE


                                                                                               Attachment ( 1)
                Case 2:22-mc-01235-CB Document 1 Filed 12/12/22 Page 2 of 2




                                        CERTIFICATE OF SERVICE




In accordance with Title 28 U.S.C. Section 2042, the undersigned hereby certifies that on the date designated
below a true copy of this application with all required attachments was mailed to:



                                       United States Attorney's Office
                                              700 Grant Street
                                                 Suite 4000
                                           Pittsburgh, PA 15219




                  DATE                                       CLAIMANT'S SIGNATURE




                                                                                               Attachment (2)
